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Case No. 18-20533

 

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION

 

UNITED STATES OF AMERICA
V.

MICHAEL HINDS

 

MICHAEL HINDS’S MOTION TO SUPPRESS STATEMENTS THAT
WERE INVOLUNTARILY ELICITED FROM MR. MASSEY IN
VIOLATION OF MIRANDA AND THE FIFTH AMENDMENT

 

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ARGUMENT:
I. Incriminating Statements Given by Defendant to Law Enforcement

Violated Defendant’s Miranda and Fifth Amendment Rights

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff, CRIMINAL NO. 18-cr-20533
Vv. HONORABLE VICTORIA A. ROBERTS
MICHAEL HINDS
Defendant.

/

MOTION TO SUPPRESS STATEMENTS THAT WERE
INVOLUNTARILY
ELICITED FROM MR. HINDS
IN VIOLATION OF MIRANDA AND THE FIFTH AMENDMENT.

Now comes Defendant Michael Hinds, through counsel Christopher W.
Quinn, II and requests that the Court suppress involuntary statements elicited by
law enforcement offices at the Detroit, Michigan Police Department (“Detroit
PD”) at a time when Defendant Michael Hinds was under the influence of
narcotics, in violation of the Fifth Amendment and Miranda. In support of Mr.
Hinds’s request, counsel states the following:

1). On November 23, 2017, Mr. Hinds was arrested in the City of Detroit
for allegedly being in possession of illegal narcotics and a firearm in the City of

Detroit. Mr. Hinds was processed at the Detroit PD.

 
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2). Mr. Hinds prior to being arrested on November 23, 2019 had ingested
narcotics and was under the influence of said narcotics

3). While at the scene of instant, offense at 16010 Ellsworth St., Detroit, ML
where Mr. Hinds was arrested by Detroit, PD. Mr. Hinds was captured by the
Detroit PD’s body cam allegedly making incriminating statements.

4) Mr. Hinds at the time was not of sound mind and body because at the time he
was under the influence of narcotics

5) During the interrogation of Mr. Hinds at the Detroit PD, Mr. Hinds
involuntarily waived his Miranda rights and involuntarily made statements
because he was under the influence of narcotics.

6) The statements elicited from Mr. Hinds were in violation of his Miranda and
Fifth Amendment rights because they were not voluntary.

7). Defense counsel has sought concurrence regarding the relief requested in this
Motion and the government does not concur.

8). For the above reasons, counsel for Mr. Hinds requests that the Court conduct
an evidentiary hearing on the matter and suppress statements provided by Mr.
Hinds as involuntary and in violation of his Miranda rights and the Fifth
Amendment because the statements were involuntary due to Mr. Hinds being

under the influence of narcotics.

 
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Dated: November 7, 2019 Respectfully submitted

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff, CRIMINAL NO. 18-cr-20533
v. HONORABLE VICTORIA A. ROBERTS
MICHAEL HINDS
Defendant.

/

BRIEF IN SUPPORT OF MOTION TO SUPPRESS STATEMENTS THAT
WERE INVOLUNTARILY ELICITED FROM MR. HINDS
IN VIOLATION OF MIRANDA AND THE FIFTH AMENDMENT.

I. FACTS

On November 23, 2017, Mr. Hinds was arrested in the City of Detroit for
allegedly being in possession of illegal narcotics and a firearm in the City of
Detroit. Mr. Hinds was processed at the Detroit PD.

Mr. Hinds prior to being arrested on November 23, 2017 had ingested narcotics

and was under the influence of said narcotics. While at the scene of instant offense

at 16010 Ellsworth St., Detroit, MI., where Mr. Hinds was arrested by Detroit PD.
Mr. Hinds was captured by the Detroit PD’s body cam allegedly making

incriminating statements.

 
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Mr. Hinds at the time was not of sound mind and body because at the time he was
under the influence of narcotics. During the interrogation of Mr. Hinds at the
Detroit PD. Mr. Hinds involuntarily waived his Miranda rights and involuntarily
made statements because he was under the influence of narcotics. The statements
elicited from Mr. Hinds were in violation of his Miranda and Fifth Amendment
rights because they were not voluntary.

IT. ARGUMENT

According to the government, Mr. Hinds gave incriminating statements to
law enforcement officers while in custody at the Detroit PD. Although the
government has provided a document purporting to show that Mr. Hinds waived
his Miranda rights, the waiver was not voluntary because Mr. Hinds was under the
influence of narcotics.

In order to introduce the statements as evidence at trial, the government has
the burden of proving that Mr. Hinds’s statements were voluntary. See Lego v

Twomey, 404 U.S. 477 (1972). The test for voluntariness is whether a statement is
the “product of an essentially free and unconstrained choice by its maker.”

Culombe v. Connecticut, 367

 
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U.S. 568, 602 (1961). In determining whether a statement was made voluntarily, a
court must conduct “a careful evaluation of all the circumstances of the
interrogation.” Mincey v. Arizona, 437 U.S. 385, 405 (1978).

The Court must consider the “totality of the circumstances” in deciding whether
the defendant made his statement voluntarily. Fikes v. Alabama, 352 U.S. 191
(1957); see also Gallegos v. Colorado, 370 U.S. 49 (1962) (determination of
whether an accused’s statement was made involuntarily so as to render it
inadmissible requires close scrutiny of the facts of each individual case).
Succinctly stated, the Court must examine the efforts to overbear Mr. Hinds’s free
will in relation to his capacity to resist those efforts. Davis v. North Carolina, 384
U.S. 737 (1966) and whether his statements were the result of a rational intellect
and a free will. Blackburn v. Alabama, 361 U.S. 199, 208 (1980).

In this case, Mr. Hinds had ingested narcotics which interfered with his
ability to knowingly and voluntarily waive his Miranda Rights, law enforcement
officers failed to determine whether or not Mr. Hinds was under the influence of

drugs prior to conducting an interrogation of Mr. Hinds. The evidence at a hearing

will demonstrate that any statements elicited from Mr. Hinds were made

involuntarily and under the influence of narcotics.

 

 
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Ill. CONCLUSION

For the foregoing reasons, and any other reasons the Court finds just and
proper, Mr. Hinds requests that the Court conduct an evidentiary hearing and

suppress all statements elicited from Mr. Hinds.

Dated: November 7, 2019

Respectfully submitted

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CERTIFICATE OF
SERVICE

I hereby certify that on the above date, the foregoing paper was filed with

the clerk of the Court via ECF and served on all counsel of record.

/s/Christopher W. Quinn, II
Dated: November 7, 2019 Attorney for Michael Hinds

 
